Case 2:21-cr-00069-NT Document 26 Filed 05/20/21 Page 1 of 10                       PageID #: 46




                              UI\'ITED STATES DISTRICT COI]RT
                                     DISTRICT O['MAINE

TINITED STATES OF AMERICA                      )
                                               )
                v                              )       Crim. No. 2:21-cr-
                                               )
NATHAN LIBBY                                   )

                           AGREEMENT TO PLEAD GUILTY
             TWITII STIPULATIONS. A}PEAL WATVER CARES ACT WAIVER"
                           AND YERSION OT'THE OFFENSE)

        The United States of America, by and through Donald E. Clark, Acting United States

Attomey for the Dishict of Maine, and Daniel J. Perry, Assistant United States Attorney, and

Nathan Libby (hereinafter "Defendant"), acting for himself and tlrough his counsel, Grainne

Dunne, Esquire, enter into the following Agreement based upon the promises and understandings

set forth below.

        l.      Guiltv PlealDismissal of Counts. Defendant agrees to plead guilty to the

Indictment herein pr:rsuant to Rule I I of the Federal Rules of Criminal Procedure (Fed. R. Crim.

P.), at the earliest opportunity requested by the United States and provided by the Court. The

Indictrnent charges Defendant with Making a Hoax Distess Call, in violation of 14 U.S.C.

$521(c). In addition to pleading guilty, Defendant agrees not to contest the version of the offense

set forth in Attachment   A to this Agreement, to otherwise comply with all the terms of this

Agreement, and to be sentenced on the charge(s) to which he has agreed to plead guilty. Further,

gtven the lapse of time since the date of his commission of the offense(s) to which he is pleading

guilty, and the resulting impact of the Coronavirus Disease 2019 (COVID-19) pandemic on the

United States' ability to prepare tlle case for trial, Defendant agrees that the United States would

be substantially prejudiced by the withdrawal of his guitty plea.
Case 2:21-cr-00069-NT Document 26 Filed 05/20/21 Page 2 of 10                           PageID #: 47




       2.        CARES Act Waiver. Defendant agrees that all court appearances, including his

change of plea hearing and sentencing hearing, f,&y proceed by video-teleconference         ("VTC"),

so long as such appearances are authonzedby the General Orders of this Court, rule, or statrrte.

Defendant understands that, under the Constitution, the United States Code, and the Federal

Rules of Criminal Procedure (including Rules       t|,32,   and 43), he may have the   rightto be

physically present at these hearings. Defendant understands that right and, after consulting with

counsel, voluntarily agrees to waive   it   and to proceed remotely. Defense counsel also   joins in

this consent, agrcement, and waiver. Specifically, this agreement includes, but is not limited to,

the following:

       a.        Defendant consents under Section 15002(b) of the CARES Act to proceed

       with her change of plea hearing by VTC;

       b.        Defendant consents under Section 15002(b) of the CARES Act to proceed

       with her sentencing hearing by VTC; and

       c.        Defendant consents under 18 U.S.C. $ 3148 and Section 15002(b) of the

       CARES Act to proceed with any hearing regarding alleged violations of her

       conditions of pretuial release by     WC.

       3.        Sentencine/Penalties. Defendant agrees to be sentenced on the charge described

above. Defendant understands that the penalties that are applicable to the charges described

above are as follows:

       Count One

       A.        A term of imprisonment of not more than       5 years;


       B.        Amaximum fine of Two Hundred Fifty Thousand ($250,000) Dollars;


                                                     2
Case 2:21-cr-00069-NT Document 26 Filed 05/20/21 Page 3 of 10                            PageID #: 48




        C.      A tenn of supervised release of not more than 3 years. Defendant understands

                that the Defendant's failure to comply with any of the conditions of supervised

                release may result   in revocation of supervised release, requiring the Defendant to

                serve up to 2 additional years in prison        for any such revocation ofsupervised

                release purzuant   to   18 U.S.C. 53583.

        In addition, defendant understands that        a   mandatory special assessment of   $   100.00

applies for the count of conviction which Defendant agrees to pay at or before the time that he

enters a guilty plea.

        In addition to the other penalties provided by Iaw, the Court must also order the

Defendant to pay restitution to the victim or victims of the offense, pwsuant to 18 U.S.C. S 3663

or 53663A.

        4.      Version of the Offense. Defendant admits that he is, in fact, guilty of the

offense(s) described in paragraph       l,   above, to which he is agreeing to plead guilty. Defendant

and the United States agree to the statement of facts set forth in Attachment       A and agree that this

statement of facts is sufficient to provide a factual basis for his plea of guitty to the charge(s)

described in this agreement but is not meant to be a complete recitation of all facts relevant to the

underlying criminal conduct or all facts known to either party that relate to that conduct.

        5.   Aereements Resarding Sentencins. The parties agree to make the following non-

binding recommendations as to sentencing:

             a. The parties agrce to recommend that the Court find that the defendant has
accepted responsibility for the offenses of conviction, and that the Court should reduce the

defendant's Adjusted Offense Level under USSG S 3E1.1. The government reseryes                    tle right not


                                                        3
Case 2:21-cr-00069-NT Document 26 Filed 05/20/21 Page 4 of 10                       PageID #: 49




to recommend a reduction under USSG      S   3E1.1 if, at any time betweenthe execution of this

Agreement and sentencing, the defendant (a) provides materially false information to the

probation officer in respect to the presentence investigation, or (b) provides materially false

information to the Court; or (c) engages in new criminal conduct. The determination of whether

the Defendant has provided materially false information or engaged in new criminal conduct

shall be made by the Court.

        b.     In addition, because the justice system is facing an unprecedented crisis as a result

of the COVID-19 pandemic, the parties also agree that the govemment will recommend a tlree

Ievel variance pursuant to 18 U.S.C. $ 3553(a) and as recognition of Defendant's extraordinary

acceptance of responsibility and his lessening the burden on the court system by: (a) commiuing

to plead guilty in advance of the normalization of court operations and actually pleading guilty

and being sentenced on the charge to which he has agreed to plead     guilty; (b) proceeding by

VTC (unless the Court sua sponte orders otherwise) with subsequent proceedings       as discussed   in

paragraph 2, above, (c) agreeing to the version of the offense set forth in this Agreement; (d)

agreeing to be bound by a1l the terms of this Agreement, specifically including those relating to

breach and remedy; and (e) waiving appellate rights as referenced below.

       The parties expressly agree and understand that should the Court reject any of the

recommendations of   tle paities, Defendant will not thereby be perrnitted to withdraw his plea of

guilty. The parties agree and understand ttrat the Court has the discretion to impose any lawful

sentence.




                                                  4
Case 2:21-cr-00069-NT Document 26 Filed 05/20/21 Page 5 of 10                           PageID #: 50




          6,     Appeal Waivers. Defendant is aware that Title 18, United States Code, Section

3742 atrords a defendant the right to appeal the sentence imposed. Knowing that, Defendant

waives the right to appeal the following:

                 A.       Defendant's gullty plea and any other aspect of Defendant's conviction in
                          the above-captioned case; and

                 B.       A sentence of imprisonment that    does not exceed 12 months.


Defendant's waiver of his right to appeal shal1 not apply to appeals based on a right that has been

newly recogni2sd by the Supreme Court and made retroactively applicable to cases on collateral

fevlew.

          The number of months mentioned in this paragraph does not necessarily constitute an

estimate of the sentence that the parties expect   will   be imposed.

          7.     New Criminal Conduct. Defendant agrees that he will not commit any other

federal or state crime.

          8.     Breach and Consequences of Breach. If Defendant violates or fails to perform

any obligations under this Agreement ("a breach"), the United States      will   be released from its


obligations hereunder, including its obligations to make any sentencing recommendations under

Paragraph 5, and may      fully prosecute Defendant on all criminal charges that can be brought

against Defendant. With respect to such a prosecution:

                 A.       The United States may use any statement that Defendant made pursuant to
                          this Agreement, including statements made during plea discussions, the
                          version of the offense set forth in Paragraph 4, and plea colloquies, and the
                          fact that Defendant pleaded guilty, and Defendant hereby waives any
                          claim under Rule 410 of the Federal Rules of Evidence or Rule l1(f) of
                          the Federal Rules of Criminal Procedure that such statements and guilty
                          plea are inadmissible.




                                                    5
Case 2:21-cr-00069-NT Document 26 Filed 05/20/21 Page 6 of 10                          PageID #: 51




                  B.      Defendant waives any and all defenses based on the statute of limitations
                          with respect to any such prosecution that is not time-balred on the date
                          that this Agreement is signed by the parties.

If the United    States chooses to exercise its rights under this paragraph, the determination   of

whether Defendant has committed a breach shall be made by the Court upon an appropriate

motion. In   a proceeding on such    motion, the United States shall have the burden to establish

Defendant's breach by a preponderance ofthe evidence.

       g.         Speedy Trial Waiver. Defendant agrees to waive, and hereby does waive, any and

all rights he might have under the Speedy Trial Act, 18 U.S.C. $$ 3161-64, from the date of the

execution of this Agreement and continuing thereafter through and including the date upon

which sentence is imposed. In the event that the Court determines that Defendant has breached

this Agteement, as set forth in Paragraph 8 of this Agreement, then the waiver described in this

paragraph shall continue through and including the date on which the Court determines that such

a breach has occurred. Defendant expressly consents to the entry      of an Order by the Court

excluding such periods of time from such consideration.

        10.       Forfeiture. Defendant agrees to waive any claim to, and assist the United States in

effecting the forfeiture or other hansfet of, any property that may be subject to forfeiture to the

United States under any law of the United States.

        1   1.   Vaiidity of Other A$eements: Sienature. This Agreement supersedes any prior

understandings, promises, or conditions between this Office and Defendant. However, in the

event that Defendant fails to enter his guilty plea or is allowed to withdraw his guilty plea

entered hereunder, and the Court determines that Defendant has not breached this Agreement,

then any proffer agreement between the parties shall remain in effect. No additional


                                                     6
Case 2:21-cr-00069-NT Document 26 Filed 05/20/21 Page 7 of 10                         PageID #: 52




understandings, promises, or conditions   will   be entered into unless in writing and signed by all

parties. The signature of Defendant in the space designated signifies his fuIl and voluntary

acceptance of this Agreement.

        I have read this Agreement and have carefully reviewed every part of it. I understand it
and I have voluntarily agreed to it.



Date:                )u\                         Nathan


                                                                     every part of this
        I am legal counsel for Nathan Libby. I have careflrlly reviewed
Agreement with him. To my knowledge, his decision to enter into this Agteement   is an informed
and voluntary one.

            t+   z
                                                 Grainne Dunne, Esquire
                                                 Attorney for Defendant

        FOR THE UNITED STATES:                              Clark


Date    ,
                                                           Peny
                                                           U.S. Attorney



                                Approved:
                                                 Supervisory            U.S. Attomey



Revised August   6,2020




                                                    7
Case 2:21-cr-00069-NT Document 26 Filed 05/20/21 Page 8 of 10                    PageID #: 53




                                         ATTACHMENT A


                            IJMTED STATES DISTRICT COT]RT
                                 DISTRICT OF MAII\TE

T]NITED STATES OF AMERICA                     )
                                              )
         Y                                    )       Criminal No. 2:21-cr-
NATHAN LIBBY                                  )

                      GOVER}IMENT'S VERSION OF TIIE OFFENSE

         Had the case proceeded to trial, the Government would produce evidence that would

establish beyond a reasonable doubt that on December 3,2020 this defendant transmitted a hoax

distess call that resulted in the United States Coast Guard and the State of Maine to mobilize

resources to respond to the hoar call.

         The evidence would establish the following facts:

         On December 3,2020, at approximately 6:36 a.m., the Coast Guard received a "May Day,

May Day" distress call on VHF marine radio station 16. The Coast Guard dispatcher responded

to the distress call and spoke with a male for approximately l-2 minutes. [n substance, the caller

stated that "we lost our rudder"   and'\ve are taking on water fast" and "our pumps can't keep up

with this". He indicated three persons were aboard. The caller further stated that the boat was a

42-foot muscle ridge. The dispatcher asked for GPS coordinates. The caller did not have any

coordinates but said he was in Spruce Head Harbor and was going to try to get the boat to Atwood's

float.

         State of Maine Marine Patrol Officer Nicholas Stillwell arrived at Atwood's Lobster Co.,

286 Island Road, South Thomaston, Maine after learning of the distress call. At'wood's Lobster is

next door to the Spruce Head Fishermen's Co-op (hereinafter "Co-op"). Officer Stilwell boarded

a private vessel that was heading out of the harbor in attempt to locate the boat that made the


                                                  I
Case 2:21-cr-00069-NT Document 26 Filed 05/20/21 Page 9 of 10                         PageID #: 54




distress   call. Offrcer Stillwell did not locate the vessel during his search. At approximately 8:00

a.m., the boat returned to the dock.

           Officer Stillwell spoke with the defendant, Nathan Libby (hereinafter "Libby"). Libby

stated he was an employee of the Co-op and provided a       list of fishing boats that had gone out that

moming.

           Officer Stillwell then spoke to an individual who was parked in the Co-op parking lot.

Offrcer Stittwell played a short clip of the distress call and asked if the individual recognized the

caller's voice. The individual opined that it sounded just like Nate, the dock worker with whom

Offrcer Stillwell had just spoken.

           Officer Stillwell returned to the Co-op office and spoke again with Libby. Officer Stillwell

recorded this conversation. Libby stated he had heard parts of the distress      call. Libby stated he

had heard the vessel had lost its rudder and needed pumps or his pumps weren't keeping up.      Officer

Stiltwell asked if there was a radio in the office and Libby pointed out the radio in the comer of a

large room offthe office. Offrcer Stillwell walked over to the radio and observed it was a VFIF

marine radio on channel 16.

           At approximately 10:57, Coast Guard personnel determined this was a probable hoar and

suspended the search.

           Law enforcement interviewed other witnesses who were familiar with Libby's voice and

who listened to the distress call and they opined the voice that was on the distress call was Libby's

vorce.

           Surveillance footage from the Co-op shows Libby is present atthe Co-op offrce at the time

the distress call was made.




                                                     2
Case 2:21-cr-00069-NT Document 26 Filed 05/20/21 Page 10 of 10                          PageID #: 55



       The Coast Guard was able to determine the direction from which the distress call was made,

and that determination showed that the direction of the signal was from the direction of the Co-op.

       Upon receipt of the distress call, the Coast Guard launched a 47' Motor Life Boat out of

Rockland, Maine which was out for 4.25 hours as part of a search and rescue effort and launched

a MH60 Helicopter which was out      for 5.15 hours    as part   of the search and rescue effort. Maine

Marine patrol also launched a boat that participated in the search and rescue and several Marine

Patrol offrcers participated in the search and rescue.

Dated Mray        2021                         Donald E. Clark
             -,                                Acting United States Attorney


                                               /s/Daniel J. Perry
                                               Daniel J. Perry
                                               Assistant United States Attorney
                                               United States Attorney's Office
                                               District of Maine
                                                100 Middle Steet, East Tower, 66 Floor
                                               Portland, ME 04101
                                                (207)780-32s7
                                                dan.perry,@usdoj.gov




                                                   J
